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               Exhibit D
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                                                                                                               CASREF,VICTIM

                                        United States District Court
                                     District of Massachusetts (Boston)
                             CRIMINAL DOCKET FOR CASE #: 1:20-cr-10263-PBS-1


 Case title: USA v. Baugh et al                                                        Date Filed: 11/03/2020
 Magistrate judge case number: 1:20-mj-02398-MBB


 Assigned to: Judge Patti B. Saris
 Referred to: Magistrate Judge Marianne B.
 Bowler

 Defendant (1)
 Jim Baugh                                                               represented by William W. Fick
 also known as                                                                          Fick & Marx LLP
 James Baugh                                                                            24 Federal Street, 4th Flr.
                                                                                        Boston, MA 02110
                                                                                        857-321-8360
                                                                                        Email: wfick@fickmarx.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                       Daniel N. Marx
                                                                                       Fick & Marx LLP
                                                                                       24 Federal Street, 4th Flr.
                                                                                       Boston, MA 02110
                                                                                       857-321-8360
                                                                                       Email: dmarx@fickmarx.com
                                                                                       ATTORNEY TO BE NOTICED

 Pending Counts                                                                        Disposition
 18:371 - CONSPIRACY TO COMMIT
 STALKING THROUGH TRAVEL AND
 THROUGH FACILITIES OF
 INTERSTATE COMMERCE
 (1)
 18:2261A(1)(B) and 2 - STALKING
 THROUGH INTERSTATE TRAVEL;
 AIDING AND ABETTING
 (2-3)
 18:2261A(2)(B) and 2 - STALKING
 THROUGH FACILITIES OF
 INTERSTATE COMMERCE; AIDING
 AND ABETTING
 (6-7)
 18:1512(b)(3) and 2 - WITNESS
 TAMPERING; AIDING AND ABETTING

https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?729891022256118-L_1_0-1                                                    1/8
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 (10-11)
 18:1519 and 2 - DESTRUCTION,
 ALTERATION AND FALSIFICATION OF
 RECORDS IN A FEDERAL
 INVESTIGATION; AIDING AND
 ABETTING
 (13-14)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 18:371 and 18:2261A Conspiracy to
 Commit Cyberstalking: 18:371 and
 18:1512(b)(3) Conspiracy to Commit
 Witness Tampering (18:371.F 18:2261.F,
 18:371.F, 18:1512C.F)



 Plaintiff
 USA                                                                     represented by Seth B. Kosto
                                                                                        United States Attorney's Office MA
                                                                                        1 Courthouse Way
                                                                                        Suite 9200
                                                                                        Boston, MA 02210
                                                                                        617-748-3230
                                                                                        Email: seth.kosto@usdoj.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Assistant US Attorney

  Date Filed              #     Docket Text
  06/11/2020               1 MOTION to Seal Case as to James Baugh, David Harville by USA. (Belpedio, Lisa) [1:20-
                             mj-02398-MBB] (Entered: 06/11/2020)
  06/11/2020               2 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 1 Motion
                             to Seal Case as to James Baugh (1), David Harville (2) (Belpedio, Lisa) [1:20-mj-02398-
                             MBB] (Entered: 06/11/2020)
  06/11/2020               3 SEALED COMPLAINT as to James Baugh (1), David Harville (2). (Attachments: # 1
                             Affidavit of Mark Wilson, # 2 REDACTED Affidavit of Mark Wilson, # 3 JS45 Baugh, # 4
                             JS45 Harville)(Belpedio, Lisa) [1:20-mj-02398-MBB] (Entered: 06/11/2020)

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  06/11/2020              4 Arrest Warrant Issued by Magistrate Judge Marianne B. Bowler as to James Baugh.
                            (Belpedio, Lisa) [1:20-mj-02398-MBB] (Entered: 06/11/2020)
  06/11/2020               6 ELECTRONIC NOTICE of Case Assignment as to James Baugh, David Harville;
                             Magistrate Judge Marianne B. Bowler assigned to case. (Finn, Mary) [1:20-mj-02398-
                             MBB] (Entered: 06/11/2020)
  06/11/2020               7 MOTION to Partially Unseal Case and Redact as to James Baugh, David Harville by USA.
                             (Belpedio, Lisa) [1:20-mj-02398-MBB] (Entered: 06/11/2020)
  06/11/2020               8 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 7 Motion
                             to Partially Unseal Case and Redact as to James Baugh (1), David Harville (2) once
                             arrested. (Belpedio, Lisa) [1:20-mj-02398-MBB] (Entered: 06/11/2020)
  06/15/2020               9 MOTION to Partially Unseal Case as to James Baugh, David Harville by USA. (Belpedio,
                             Lisa) [1:20-mj-02398-MBB] (Entered: 06/15/2020)
  06/15/2020             10 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 9 Motion
                            to Unseal Case as to James Baugh (1), David Harville (2) (Belpedio, Lisa) [1:20-mj-
                            02398-MBB] (Entered: 06/15/2020)
  06/15/2020                    Arrest of James Baugh in Northern District of California. (Putnam, Harold) [1:20-mj-
                                02398-MBB] (Entered: 06/29/2020)
  06/16/2020             11 NOTICE OF ATTORNEY APPEARANCE: William W. Fick appearing for James Baugh.
                            Type of Appearance: Retained. (Fick, William) [1:20-mj-02398-MBB] (Entered:
                            06/16/2020)
  06/25/2020             13 Assented to MOTION to Modify Conditions of Release as to James Baugh. (Fick,
                            William) [1:20-mj-02398-MBB] (Entered: 06/25/2020)
  06/25/2020             14 NOTICE OF ATTORNEY APPEARANCE: Daniel N. Marx appearing for James Baugh.
                            Type of Appearance: Retained. (Marx, Daniel) [1:20-mj-02398-MBB] (Entered:
                            06/25/2020)
  06/26/2020                    Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 13
                                Motion to Modify Conditions of Release as to James Baugh (1). (Bowler, Marianne) [1:20-
                                mj-02398-MBB] (Entered: 06/26/2020)
  06/29/2020             17 Rule 5(c)(3) Documents Received as to James Baugh (Attachments: # 1 Criminal
                            Complaint, # 2 JS45, # 3 Affidavit, # 4 Arrest Warrant, # 5 Conditions of Release)
                            (Putnam, Harold) [1:20-mj-02398-MBB] (Entered: 06/29/2020)
  06/29/2020             18 ELECTRONIC NOTICE OF HEARING as to James Baugh, David Harville

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                www.forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices availabl e on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Preliminary Examination set for 7/9/2020 12:00 PM in Courtroom 25 before Magistrate
                                Judge Marianne B. Bowler. (Putnam, Harold) [1:20-mj-02398-MBB] (Entered:
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?729891022256118-L_1_0-1                                                        3/8
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                            06/29/2020)
  07/02/2020             20 WAIVER of Preliminary Hearing by James Baugh (Fick, William) [1:20-mj-02398-MBB]
                            (Entered: 07/02/2020)
  07/07/2020             21 Considering 19 and 20 WAIVERS of Preliminary Hearings as to James Baugh, David
                            Harville, ELECTRONIC NOTICE cancelling 7/9/2020 Probable Cause Hearings as to both
                            defendants. Issue of probable cause may be reopened upon motion. (Putnam, Harold)
                            [1:20-mj-02398-MBB] (Entered: 07/07/2020)
  07/14/2020             22 ELECTRONIC NOTICE OF HEARING as to James Baugh, David Harville. Telephone
                            Conference set for 7/21/2020 12:00 PM before Magistrate Judge Marianne B. Bowler.
                            ALL COUNSEL ARE DIRECTED TO APPEAR BY PHONE by calling 888-675-2535
                            approximately five minutes prior to the conference, using Access Code 6641794. (Putnam,
                            Harold) [1:20-mj-02398-MBB] (Entered: 07/14/2020)
  07/15/2020             23 Considering that both defendants have waived probable cause and that conditions have
                            been set as to both, ELECTRONIC NOTICE CANCELING 7/21/2020 Status Conference
                            as to James Baugh, David Harville. (Putnam, Harold) [1:20-mj-02398-MBB] (Entered:
                            07/15/2020)
  07/27/2020             25 Assented to MOTION Substitute Third-Party Bond Surety re 17 Rule 5(c)(3) Documents
                            Received (17-5 Release Conditions and Bond) as to James Baugh. (Fick, William) [1:20-
                            mj-02398-MBB] (Entered: 07/27/2020)
  07/28/2020                    Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 25
                                Motion as to James Baugh (1), there being no objection from the government. (Bowler,
                                Marianne) [1:20-mj-02398-MBB] (Entered: 07/28/2020)
  08/14/2020             26 Magistrate Judge Marianne B. Bowler: ORDER entered as to James Baugh vacating the
                            original [17-5] Appearance Bonddated June 16, 2020. (Putnam, Harold) [1:20-mj-02398-
                            MBB] (Entered: 08/14/2020)
  08/14/2020             27 Replacement Secured Bond Entered as to James Baugh in amount of $200,000 with Jillian
                            Baugh as surety. (Putnam, Harold) [1:20-mj-02398-MBB] (Entered: 08/14/2020)
  09/10/2020             29 Assented to MOTION to Modify Conditions of Release as to James Baugh. (Fick,
                            William) [1:20-mj-02398-MBB] (Entered: 09/10/2020)
  09/11/2020             30 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 29
                            Motion to Modify Conditions of Release as to James Baugh (1). (Bowler, Marianne) [1:20-
                            mj-02398-MBB] (Entered: 09/11/2020)
  11/03/2020             33 INDICTMENT as to Jim Baugh (1) count(s) 1, 2-3, 6-7, 10-11, 13-14, David Harville (2)
                            count(s) 1, 4-5, 8-9, 12, 15. (Attachments: # 1 JS45 Baugh, # 2 JS45 Harville)(Alves-
                            Baptista, Antonia) (Entered: 11/03/2020)
  11/03/2020             34 ELECTRONIC NOTICE of Case Assignment as to Jim Baugh, David Harville; Judge Patti
                            B. Saris assigned to case. If the trial Judge issues an Order of Reference of any matter in
                            this case to a Magistrate Judge, the matter will be transmitted to Magistrate Judge
                            Marianne B. Bowler. (Finn, Mary) (Entered: 11/03/2020)
  11/03/2020             35 Judge Patti B. Saris: ELECTRONIC ORDER entered. Order Referring Case to Magistrate
                            Judge Marianne B. Bowler Reason for referral: Full Pretrial Proceedings as to Jim Baugh,
                            David Harville (Alves-Baptista, Antonia) (Entered: 11/03/2020)
  11/13/2020             37 ELECTRONIC NOTICE OF HEARING as to Jim Baugh, David Harville

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?729891022256118-L_1_0-1                                                    4/8
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                            issues with the technology, please notify the session's courtroom deputy as soon as
                            possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Arraignment set for 11/19/2020 11:00 AM in Courtroom 25 before Magistrate Judge
                                Marianne B. Bowler. (Belpedio, Lisa) (Entered: 11/13/2020)
  11/19/2020             38 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Arraignments as to Jim Baugh (1) Count 1,2-3,6-7,10-11,13-14 and David
                            Harville (2) Count 1,4-5,8-9,12,15 held on 11/19/2020. Court conducts colloquy with
                            defendants, find that they knowingly and voluntarily waive their rights to be physically
                            present in the courtroom. Hearing proceeds by video. Government states maximum
                            penalties as to both defendants, anticipates a trial lasting seven to eight days, and
                            anticipates calling in excess of 20 witnesses. Pleas entered by Jim Baugh (1) Count 1,2-
                            3,6-7,10-11,13-14 and David Harville (2) Count 1,4-5,8-9,12,15: not guilty as to all counts.
                            On the record, court instructs parties regarding the provisions of the Due Process
                            Protections Act. Written order to issue. (Status Conference set for 1/6/2021 02:15 PM
                            before Magistrate Judge Marianne B. Bowler. ALL COUNSEL ARE DIRECTED TO
                            APPEAR BY PHONE by calling 888-675-2535 approximately five minutes prior to the
                            conference, using Access Code 6641794. If, for some reason, the call is disconnected, dial
                            back in. NOTE that yours may not be the first case called, but please remain on the line
                            until it is.) (Attorneys present: Kosto, Fick, McDougall, Gelb.) Court Reporter Name and
                            Contact or digital recording information: Robert Paschal at rwp.reporter@gmail.com.
                            (Putnam, Harold) (Entered: 11/21/2020)
  11/19/2020             39 Magistrate Judge Marianne B. Bowler: ORDER PURSUANT TO FEDERAL RULE OF
                            CRIMINAL PROCEDURE 5 as to Jim Baugh, David Harville. (Putnam, Harold) (Entered:
                            11/21/2020)
  12/09/2020             40 Assented to MOTION to Modify Conditions of Release as to Jim Baugh. (Fick, William)
                            (Entered: 12/09/2020)
  12/10/2020             41 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 40
                            Motion to Modify Conditions of Release as to Jim Baugh (1). (Bowler, Marianne)
                            (Entered: 12/10/2020)
  12/10/2020             42 Assented to MOTION for Protective Order Concerning Discovery Materials as to Jim
                            Baugh, David Harville by USA. (Attachments: # 1 Text of Proposed Order)(Kosto, Seth)
                            (Entered: 12/10/2020)
  12/11/2020             43 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 42
                            Motion for Protective Order as to Jim Baugh (1) and David Harville (2). (Bowler,
                            Marianne) (Entered: 12/11/2020)
  12/16/2020             44 Magistrate Judge Marianne B. Bowler: ORDER entered. PROTECTIVE ORDER as to Jim
                            Baugh, David Harville (Putnam, Harold) (Entered: 12/20/2020)
  01/04/2021             45 ELECTRONIC NOTICE OF RESCHEDULING as to Jim Baugh, David Harville. Status
                            Conference reset for 1/7/2021 02:15 PM before Magistrate Judge Marianne B. Bowler.
                            ALL COUNSEL ARE DIRECTED TO APPEAR BY PHONE by calling 888-675-2535
                            approximately five minutes prior to the conference, using Access Code 6641794. If, for

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7/19/2021                Case 1:21-cv-11181-PBS       Document
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                            some reason, the call is disconnected, dial back in. NOTE that yours may not be the first
                            case called, but please remain on the line until it is.(Putnam, Harold) (Entered: 01/04/2021)
  01/07/2021             46 Assented to MOTION for Excludable Delay from 01/07/2021 to 03/08/2021 as to Jim
                            Baugh, David Harville by USA. (Kosto, Seth) (Entered: 01/07/2021)
  01/07/2021             47 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Status Conference as to Jim Baugh, David Harville held on 1/7/2021. Counsel
                            report on discovery, request further date. Government to file assented to motion to exclude
                            the time from this date until 3/8/2021. (Status Conference set for 3/8/2021 02:30 PM
                            before Magistrate Judge Marianne B. Bowler. ALL COUNSEL ARE DIRECTED TO
                            APPEAR BY PHONE by calling 888-675-2535 approximately five minutes prior to the
                            conference, using Access Code 6641794. If, for some reason, the call is disconnected, dial
                            back in. NOTE that yours may not be the first case called, but please remain on the line
                            until it is.) (Attorneys present: Kosto, Fick, Gelb, McDougall.) Court Reporter Name and
                            Contact or digital recording information: Kristin Kelley at kmob929@gmail.com. (Putnam,
                            Harold) (Entered: 01/07/2021)
  01/11/2021             48 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 46
                            Motion to Exclude as to Jim Baugh (1), David Harville (2) (Putnam, Harold) (Entered:
                            01/11/2021)
  01/11/2021             49 ORDER ON EXCLUDABLE DELAY as to Jim Baugh, David Harville. Time excluded
                            from 1/7/2021 until 3/8/2021. Reason for entry of order on excludable delay: 18 USC
                            3161(h)(7)(A) Interests of justice. (Putnam, Harold) (Entered: 01/11/2021)
  03/08/2021             50 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Status Conference as to Jim Baugh, David Harville held on 3/8/2021. Government
                            reports that automatic discovery has been completed; defense continues to wade through
                            discovery. Further date set. Government to file assented to motion to exclude the time from
                            this date until 5/10/2021. (Status Conference set for 5/10/2021 02:30 PM before Magistrate
                            Judge Marianne B. Bowler. ALL COUNSEL ARE DIRECTED TO APPEAR BY PHONE
                            by calling 888-675-2535 approximately five minutes prior to the conference, using Access
                            Code 6641794. If, for some reason, the call is disconnected, dial back in. NOTE that yours
                            may not be the first case called, but please remain on the line until it is.) (Attorneys
                            present: Kosto, Fick, Gelb, McDougall.) Court Reporter Name and Contact or digital
                            recording information: Kristin Kelley at kmob929@gmail.com. (Putnam, Harold)
                            (Entered: 03/08/2021)
  03/09/2021             51 Assented to MOTION for Excludable Delay from 03/08/2021 to 05/10/2021 as to Jim
                            Baugh, David Harville by USA. (Kosto, Seth) (Entered: 03/09/2021)
  03/21/2021             52 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 51
                            Motion to Exclude as to Jim Baugh (1), David Harville (2) (Putnam, Harold) (Entered:
                            03/21/2021)
  03/21/2021             53 ORDER ON EXCLUDABLE DELAY as to Jim Baugh, David Harville. Time excluded
                            from 3/8/2021 until 5/10/2021. Reason for entry of order on excludable delay: 18 USC
                            3161(h)(7)(A) Interests of justice. (Putnam, Harold) (Entered: 03/21/2021)
  04/05/2021             54 Assented to MOTION to Modify Conditions of Release as to Jim Baugh. (Fick, William)
                            (Entered: 04/05/2021)
  04/06/2021             55 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 54
                            Motion to Modify Conditions of Release as to Jim Baugh (1). (Bowler, Marianne)
                            (Entered: 04/06/2021)
  05/10/2021             56 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.

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                            Bowler: Status Conference as to Jim Baugh, David Harville held on 5/10/2021.
                            Government reports that automatic discovery is complete, anticipates additional discovery
                            requests from defendants. Further date set during which potential motions to dismiss or
                            suppress will be addressed. Government to file assented to motion to exclude the time from
                            this date until 6/29/2021. (Status Conference set for 6/29/2021 02:45 PM before Magistrate
                            Judge Marianne B. Bowler. ALL COUNSEL ARE DIRECTED TO APPEAR BY PHONE
                            by calling 888-675-2535 approximately five minutes prior to the conference, using Access
                            Code 6641794. If, for some reason, the call is disconnected, dial back in. NOTE that yours
                            may not be the first case called, but please remain on the line until it is.) (Attorneys
                            present: Kosto, Fick, Geld.) Court Reporter Name and Contact or digital recording
                            information: Kristin Kelley at kmob929@gmail.com. (Putnam, Harold) (Entered:
                            05/12/2021)
  05/13/2021             57 Assented to MOTION for Excludable Delay from May 10, 2021 to June 29, 2021 as to Jim
                            Baugh, David Harville by USA. (Kosto, Seth) (Entered: 05/13/2021)
  06/01/2021             58 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 57
                            Assented to MOTION for Excludable Delay from May 10, 2021 to June 29, 2021 as to Jim
                            Baugh (1), David Harville (2) (Belpedio, Lisa) (Entered: 06/02/2021)
  06/01/2021             59 Magistrate Judge Marianne B. Bowler: ORDER ON EXCLUDABLE DELAY as to Jim
                            Baugh, David Harville. Time excluded from May 10, 2021 until June 29, 2021. Reason for
                            entry of order on excludable delay: 18 USC 3161(h)(7)(A) Interests of justice. (Belpedio,
                            Lisa) (Entered: 06/02/2021)
  06/22/2021             61 Response to letter requesting additional discovery pursuant to Local Rule 116.3 as to Jim
                            Baugh, David Harville (Kosto, Seth) (Entered: 06/22/2021)
  06/29/2021             62 Letter (non-motion) regarding Discovery as to Jim Baugh (Attachments: # 1 Attachment 1,
                            # 2 Attachment 2, # 3 Attachment 3, # 4 Attachment 4)(Fick, William) (Entered:
                            06/29/2021)
  06/29/2021             63 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Status Conference as to Jim Baugh, David Harville held on 6/29/2021, Case
                            called, counsel appear by telephone, government will promptly respond to latest discovery
                            request, further Status Conference set for 7/29/2021 02:45 PM in Remote Proceeding :
                            Boston before Magistrate Judge Marianne B. Bowler. COUNSEL ARE DIRECTED TO
                            APPEAR BY PHONE by calling 888-675-2535 approximately five minutes prior to the
                            conference, using Access Code 6641794. If, for some reason, the call is disconnected, dial
                            back in. NOTE that yours may not be the first case called, but please remain on the line
                            until it is. Counsel agree to exclude time through that date and government will file an
                            assented to motion. (Attorneys present: Kosto, Fick, Marx, Gelb, McDougal. )Court
                            Reporter Name and Contact or digital recording information: Kelly Mortellite at
                            mortellite@gmail.com. (Belpedio, Lisa) (Entered: 07/01/2021)
  07/01/2021             64 Assented to MOTION for Excludable Delay from June 29, 2021 to July 29, 2021 as to Jim
                            Baugh, David Harville by USA. (Kosto, Seth) (Entered: 07/01/2021)
  07/06/2021             65 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 64
                            MAssented to MOTION for Excludable Delay from June 29, 2021 to July 29, 2021 as to
                            Jim Baugh (1), David Harville (2) (Belpedio, Lisa) (Entered: 07/07/2021)
  07/06/2021             66 Magistrate Judge Marianne B. Bowler: ORDER ON EXCLUDABLE DELAY as to Jim
                            Baugh, David Harville. Time excluded from June 29, 2021 until July 29, 2021. Reason for
                            entry of order on excludable delay: 18 USC 3161(h)(7)(A) Interests of justice. (Belpedio,
                            Lisa) (Entered: 07/07/2021)


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                                                             PACER Service Center
                                                                 Transaction Receipt
                                                                    07/19/2021 10:18:44
                                      PACER
                                                         Rose5707:2824470:0 Client Code:
                                      Login:
                                                                               Search      1:20-cr-10263-
                                      Description:       Docket Report
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                                                                                                                CASREF,VICTIM

                                        United States District Court
                                     District of Massachusetts (Boston)
                             CRIMINAL DOCKET FOR CASE #: 1:20-cr-10263-PBS-2


 Case title: USA v. Baugh et al                                                       Date Filed: 11/03/2020
 Magistrate judge case number: 1:20-mj-02398-MBB


 Assigned to: Judge Patti B. Saris
 Referred to: Magistrate Judge Marianne B.
 Bowler

 Defendant (2)
 David Harville                                                          represented by Daniel K. Gelb
                                                                                        Gelb & Gelb, LLP
                                                                                        900 Cummings Center
                                                                                        Beverly, MA 01915
                                                                                        617-345-0010
                                                                                        Fax: 617-345-0009
                                                                                        Email: dgelb@gelbgelb.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                      Jonathan M. McDougall
                                                                                      The Law Office of Jonathan D. McDougall
                                                                                      1640 Laurel Street
                                                                                      San Carlos, CA 94070
                                                                                      650-594-4200
                                                                                      Fax: 650-594-4205
                                                                                      Email: jmcdougall.law@gmail.com
                                                                                      PRO HAC VICE
                                                                                      ATTORNEY TO BE NOTICED
                                                                                      Designation: Retained

 Pending Counts                                                                       Disposition
 18:371 - CONSPIRACY TO COMMIT
 STALKING THROUGH TRAVEL AND
 THROUGH FACILITIES OF
 INTERSTATE COMMERCE
 (1)
 18:2261A(1)(B) and 2 - STALKING
 THROUGH INTERSTATE TRAVEL;
 AIDING AND ABETTING
 (4-5)
 18:2261A(2)(B) and 2 - STALKING
 THROUGH FACILITIES OF
 INTERSTATE COMMERCE; AIDING

https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?601788887745271-L_1_0-1                                                          1/8
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 AND ABETTING
 (8-9)
 18:1512(b)(3) and 2 - WITNESS
 TAMPERING; AIDING AND ABETTING
 (12)
 18:1519 and 2 - DESTRUCTION,
 ALTERATION AND FALSIFICATION OF
 RECORDS IN A FEDERAL
 INVESTIGATION; AIDING AND
 ABETTING
 (15)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 18:371 and 18:2261A Conspiracy to
 Commit Cyberstalking: 18:371 and
 18:1512(b)(3) Conspiracy to Commit
 Witness Tampering (18:371.F 18:2261.F,
 18:371.F, 18:1512C.F)



 Plaintiff
 USA                                                                     represented by Seth B. Kosto
                                                                                        United States Attorney's Office MA
                                                                                        1 Courthouse Way
                                                                                        Suite 9200
                                                                                        Boston, MA 02210
                                                                                        617-748-3230
                                                                                        Email: seth.kosto@usdoj.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Assistant US Attorney


  Date Filed              #     Docket Text
  06/11/2020               1 MOTION to Seal Case as to James Baugh, David Harville by USA. (Belpedio, Lisa) [1:20-
                             mj-02398-MBB] (Entered: 06/11/2020)
  06/11/2020               2 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 1 Motion
                             to Seal Case as to James Baugh (1), David Harville (2) (Belpedio, Lisa) [1:20-mj-02398-
                             MBB] (Entered: 06/11/2020)
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?601788887745271-L_1_0-1                                                       2/8
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  06/11/2020             3 SEALED COMPLAINT as to James Baugh (1), David Harville (2). (Attachments: # 1
                            Affidavit of Mark Wilson, # 2 REDACTED Affidavit of Mark Wilson, # 3 JS45 Baugh, # 4
                            JS45 Harville)(Belpedio, Lisa) [1:20-mj-02398-MBB] (Entered: 06/11/2020)
  06/11/2020               6 ELECTRONIC NOTICE of Case Assignment as to James Baugh, David Harville;
                             Magistrate Judge Marianne B. Bowler assigned to case. (Finn, Mary) [1:20-mj-02398-
                             MBB] (Entered: 06/11/2020)
  06/11/2020               7 MOTION to Partially Unseal Case and Redact as to James Baugh, David Harville by USA.
                             (Belpedio, Lisa) [1:20-mj-02398-MBB] (Entered: 06/11/2020)
  06/11/2020               8 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 7 Motion
                             to Partially Unseal Case and Redact as to James Baugh (1), David Harville (2) once
                             arrested. (Belpedio, Lisa) [1:20-mj-02398-MBB] (Entered: 06/11/2020)
  06/11/2020               5 Arrest Warrant Issued by Magistrate Judge Marianne B. Bowler as to David Harville.
                             (Belpedio, Lisa) [1:20-mj-02398-MBB] (Entered: 06/11/2020)
  06/15/2020               9 MOTION to Partially Unseal Case as to James Baugh, David Harville by USA. (Belpedio,
                             Lisa) [1:20-mj-02398-MBB] (Entered: 06/15/2020)
  06/15/2020             10 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 9 Motion
                            to Unseal Case as to James Baugh (1), David Harville (2) (Belpedio, Lisa) [1:20-mj-
                            02398-MBB] (Entered: 06/15/2020)
  06/15/2020                    Arrest of David Harville in Southern District of New York. (Putnam, Harold) [1:20-mj-
                                02398-MBB] (Entered: 06/29/2020)
  06/18/2020             12 NOTICE OF ATTORNEY APPEARANCE: Daniel K. Gelb appearing for David Harville.
                            Type of Appearance: Retained. (Gelb, Daniel) [1:20-mj-02398-MBB] (Entered:
                            06/18/2020)
  06/23/2020             16 Rule 5(c)(3) Documents Received as to David Harville. (Putnam, Harold) [1:20-mj-02398-
                            MBB] (Entered: 06/29/2020)
  06/25/2020             15 MOTION for Leave to Appear Pro Hac Vice by Jonathan D. McDougall Filing fee $ 100,
                            receipt number 0101-8302953. as to David Harville. (Gelb, Daniel) [1:20-mj-02398-MBB]
                            (Entered: 06/25/2020)
  06/26/2020                    Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 15
                                Motion for Leave to Appear Pro Hac Vice as to David Harville (2). (Bowler, Marianne)
                                [1:20-mj-02398-MBB] (Entered: 06/26/2020)
  06/29/2020             18 ELECTRONIC NOTICE OF HEARING as to James Baugh, David Harville

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                www.forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices availabl e on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Preliminary Examination set for 7/9/2020 12:00 PM in Courtroom 25 before Magistrate
                                Judge Marianne B. Bowler. (Putnam, Harold) [1:20-mj-02398-MBB] (Entered:
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?601788887745271-L_1_0-1                                                        3/8
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                            06/29/2020)
  07/02/2020             19 WAIVER of Preliminary Hearing by David Harville (Gelb, Daniel) [1:20-mj-02398-MBB]
                            (Entered: 07/02/2020)
  07/07/2020             21 Considering 19 and 20 WAIVERS of Preliminary Hearings as to James Baugh, David
                            Harville, ELECTRONIC NOTICE cancelling 7/9/2020 Probable Cause Hearings as to both
                            defendants. Issue of probable cause may be reopened upon motion. (Putnam, Harold)
                            [1:20-mj-02398-MBB] (Entered: 07/07/2020)
  07/14/2020             22 ELECTRONIC NOTICE OF HEARING as to James Baugh, David Harville. Telephone
                            Conference set for 7/21/2020 12:00 PM before Magistrate Judge Marianne B. Bowler.
                            ALL COUNSEL ARE DIRECTED TO APPEAR BY PHONE by calling 888-675-2535
                            approximately five minutes prior to the conference, using Access Code 6641794. (Putnam,
                            Harold) [1:20-mj-02398-MBB] (Entered: 07/14/2020)
  07/15/2020             23 Considering that both defendants have waived probable cause and that conditions have
                            been set as to both, ELECTRONIC NOTICE CANCELING 7/21/2020 Status Conference
                            as to James Baugh, David Harville. (Putnam, Harold) [1:20-mj-02398-MBB] (Entered:
                            07/15/2020)
  07/24/2020             24 Assented to MOTION to Modify Conditions of Release as to David Harville. (Gelb,
                            Daniel) [1:20-mj-02398-MBB] (Entered: 07/24/2020)
  07/25/2020                    Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 24
                                Motion to Modify Conditions of Release as to David Harville (2). (Bowler, Marianne)
                                [1:20-mj-02398-MBB] (Entered: 07/25/2020)
  09/14/2020             31 ELECTRONIC NOTICE OF HEARING as to David Harville. Bail Review Hearing set for
                            9/17/2020 11:00 AM before Magistrate Judge Marianne B. Bowler.

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                (Putnam, Harold) [1:20-mj-02398-MBB] (Entered: 09/14/2020)
  09/17/2020             32 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Initial Appearance in this District and Bail Review Hearing as to David Harville
                            held on 9/17/2020. Court conducts colloquy with defendant, finds that he knowingly and
                            voluntarily waives his right to be physically present at the courthouse. Hearing proceeds by
                            video. Defendant waives probable cause. Court sets conditions of release in this district
                            and sets $100,000 unsecured appearance bond. Conditions and bond to be emailed to
                            defense counsel for signature, then back to the clerk for docketing. (Attorneys present:
                            Kosto, Gelb, McDougall, USPO Fitzpatrick.) Court Reporter Name and Contact or digital
                            recording information: Robert Paschal at rwp.reporter@gmail.com. (Putnam, Harold)
                            [1:20-mj-02398-MBB] (Entered: 09/18/2020)
  11/03/2020             33 INDICTMENT as to Jim Baugh (1) count(s) 1, 2-3, 6-7, 10-11, 13-14, David Harville (2)
                            count(s) 1, 4-5, 8-9, 12, 15. (Attachments: # 1 JS45 Baugh, # 2 JS45 Harville)(Alves-
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?601788887745271-L_1_0-1                                                        4/8
7/19/2021               Case 1:21-cv-11181-PBS      Document
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                            Baptista, Antonia) (Entered: 11/03/2020)
  11/03/2020             34 ELECTRONIC NOTICE of Case Assignment as to Jim Baugh, David Harville; Judge Patti
                            B. Saris assigned to case. If the trial Judge issues an Order of Reference of any matter in
                            this case to a Magistrate Judge, the matter will be transmitted to Magistrate Judge
                            Marianne B. Bowler. (Finn, Mary) (Entered: 11/03/2020)
  11/03/2020             35 Judge Patti B. Saris: ELECTRONIC ORDER entered. Order Referring Case to Magistrate
                            Judge Marianne B. Bowler Reason for referral: Full Pretrial Proceedings as to Jim Baugh,
                            David Harville (Alves-Baptista, Antonia) (Entered: 11/03/2020)
  11/13/2020             37 ELECTRONIC NOTICE OF HEARING as to Jim Baugh, David Harville

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Arraignment set for 11/19/2020 11:00 AM in Courtroom 25 before Magistrate Judge
                                Marianne B. Bowler. (Belpedio, Lisa) (Entered: 11/13/2020)
  11/19/2020             38 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Arraignments as to Jim Baugh (1) Count 1,2-3,6-7,10-11,13-14 and David
                            Harville (2) Count 1,4-5,8-9,12,15 held on 11/19/2020. Court conducts colloquy with
                            defendants, find that they knowingly and voluntarily waive their rights to be physically
                            present in the courtroom. Hearing proceeds by video. Government states maximum
                            penalties as to both defendants, anticipates a trial lasting seven to eight days, and
                            anticipates calling in excess of 20 witnesses. Pleas entered by Jim Baugh (1) Count 1,2-
                            3,6-7,10-11,13-14 and David Harville (2) Count 1,4-5,8-9,12,15: not guilty as to all counts.
                            On the record, court instructs parties regarding the provisions of the Due Process
                            Protections Act. Written order to issue. (Status Conference set for 1/6/2021 02:15 PM
                            before Magistrate Judge Marianne B. Bowler. ALL COUNSEL ARE DIRECTED TO
                            APPEAR BY PHONE by calling 888-675-2535 approximately five minutes prior to the
                            conference, using Access Code 6641794. If, for some reason, the call is disconnected, dial
                            back in. NOTE that yours may not be the first case called, but please remain on the line
                            until it is.) (Attorneys present: Kosto, Fick, McDougall, Gelb.) Court Reporter Name and
                            Contact or digital recording information: Robert Paschal at rwp.reporter@gmail.com.
                            (Putnam, Harold) (Entered: 11/21/2020)
  11/19/2020             39 Magistrate Judge Marianne B. Bowler: ORDER PURSUANT TO FEDERAL RULE OF
                            CRIMINAL PROCEDURE 5 as to Jim Baugh, David Harville. (Putnam, Harold) (Entered:
                            11/21/2020)
  12/10/2020             42 Assented to MOTION for Protective Order Concerning Discovery Materials as to Jim
                            Baugh, David Harville by USA. (Attachments: # 1 Text of Proposed Order)(Kosto, Seth)
                            (Entered: 12/10/2020)
  12/11/2020             43 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 42
                            Motion for Protective Order as to Jim Baugh (1) and David Harville (2). (Bowler,
                            Marianne) (Entered: 12/11/2020)
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?601788887745271-L_1_0-1                                                        5/8
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  12/16/2020            44 Magistrate Judge Marianne B. Bowler: ORDER entered. PROTECTIVE ORDER as to Jim
                            Baugh, David Harville (Putnam, Harold) (Entered: 12/20/2020)
  01/04/2021             45 ELECTRONIC NOTICE OF RESCHEDULING as to Jim Baugh, David Harville. Status
                            Conference reset for 1/7/2021 02:15 PM before Magistrate Judge Marianne B. Bowler.
                            ALL COUNSEL ARE DIRECTED TO APPEAR BY PHONE by calling 888-675-2535
                            approximately five minutes prior to the conference, using Access Code 6641794. If, for
                            some reason, the call is disconnected, dial back in. NOTE that yours may not be the first
                            case called, but please remain on the line until it is.(Putnam, Harold) (Entered: 01/04/2021)
  01/07/2021             46 Assented to MOTION for Excludable Delay from 01/07/2021 to 03/08/2021 as to Jim
                            Baugh, David Harville by USA. (Kosto, Seth) (Entered: 01/07/2021)
  01/07/2021             47 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Status Conference as to Jim Baugh, David Harville held on 1/7/2021. Counsel
                            report on discovery, request further date. Government to file assented to motion to exclude
                            the time from this date until 3/8/2021. (Status Conference set for 3/8/2021 02:30 PM
                            before Magistrate Judge Marianne B. Bowler. ALL COUNSEL ARE DIRECTED TO
                            APPEAR BY PHONE by calling 888-675-2535 approximately five minutes prior to the
                            conference, using Access Code 6641794. If, for some reason, the call is disconnected, dial
                            back in. NOTE that yours may not be the first case called, but please remain on the line
                            until it is.) (Attorneys present: Kosto, Fick, Gelb, McDougall.) Court Reporter Name and
                            Contact or digital recording information: Kristin Kelley at kmob929@gmail.com. (Putnam,
                            Harold) (Entered: 01/07/2021)
  01/11/2021             48 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 46
                            Motion to Exclude as to Jim Baugh (1), David Harville (2) (Putnam, Harold) (Entered:
                            01/11/2021)
  01/11/2021             49 ORDER ON EXCLUDABLE DELAY as to Jim Baugh, David Harville. Time excluded
                            from 1/7/2021 until 3/8/2021. Reason for entry of order on excludable delay: 18 USC
                            3161(h)(7)(A) Interests of justice. (Putnam, Harold) (Entered: 01/11/2021)
  03/08/2021             50 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Status Conference as to Jim Baugh, David Harville held on 3/8/2021. Government
                            reports that automatic discovery has been completed; defense continues to wade through
                            discovery. Further date set. Government to file assented to motion to exclude the time from
                            this date until 5/10/2021. (Status Conference set for 5/10/2021 02:30 PM before Magistrate
                            Judge Marianne B. Bowler. ALL COUNSEL ARE DIRECTED TO APPEAR BY PHONE
                            by calling 888-675-2535 approximately five minutes prior to the conference, using Access
                            Code 6641794. If, for some reason, the call is disconnected, dial back in. NOTE that yours
                            may not be the first case called, but please remain on the line until it is.) (Attorneys
                            present: Kosto, Fick, Gelb, McDougall.) Court Reporter Name and Contact or digital
                            recording information: Kristin Kelley at kmob929@gmail.com. (Putnam, Harold)
                            (Entered: 03/08/2021)
  03/09/2021             51 Assented to MOTION for Excludable Delay from 03/08/2021 to 05/10/2021 as to Jim
                            Baugh, David Harville by USA. (Kosto, Seth) (Entered: 03/09/2021)
  03/21/2021             52 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 51
                            Motion to Exclude as to Jim Baugh (1), David Harville (2) (Putnam, Harold) (Entered:
                            03/21/2021)
  03/21/2021             53 ORDER ON EXCLUDABLE DELAY as to Jim Baugh, David Harville. Time excluded
                            from 3/8/2021 until 5/10/2021. Reason for entry of order on excludable delay: 18 USC
                            3161(h)(7)(A) Interests of justice. (Putnam, Harold) (Entered: 03/21/2021)
  05/10/2021             56 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?601788887745271-L_1_0-1                                                  6/8
7/19/2021               Case 1:21-cv-11181-PBS        Document
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                            Bowler: Status Conference as to Jim Baugh, David Harville held on 5/10/2021.
                            Government reports that automatic discovery is complete, anticipates additional discovery
                            requests from defendants. Further date set during which potential motions to dismiss or
                            suppress will be addressed. Government to file assented to motion to exclude the time from
                            this date until 6/29/2021. (Status Conference set for 6/29/2021 02:45 PM before Magistrate
                            Judge Marianne B. Bowler. ALL COUNSEL ARE DIRECTED TO APPEAR BY PHONE
                            by calling 888-675-2535 approximately five minutes prior to the conference, using Access
                            Code 6641794. If, for some reason, the call is disconnected, dial back in. NOTE that yours
                            may not be the first case called, but please remain on the line until it is.) (Attorneys
                            present: Kosto, Fick, Geld.) Court Reporter Name and Contact or digital recording
                            information: Kristin Kelley at kmob929@gmail.com. (Putnam, Harold) (Entered:
                            05/12/2021)
  05/13/2021             57 Assented to MOTION for Excludable Delay from May 10, 2021 to June 29, 2021 as to Jim
                            Baugh, David Harville by USA. (Kosto, Seth) (Entered: 05/13/2021)
  06/01/2021             58 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 57
                            Assented to MOTION for Excludable Delay from May 10, 2021 to June 29, 2021 as to Jim
                            Baugh (1), David Harville (2) (Belpedio, Lisa) (Entered: 06/02/2021)
  06/01/2021             59 Magistrate Judge Marianne B. Bowler: ORDER ON EXCLUDABLE DELAY as to Jim
                            Baugh, David Harville. Time excluded from May 10, 2021 until June 29, 2021. Reason for
                            entry of order on excludable delay: 18 USC 3161(h)(7)(A) Interests of justice. (Belpedio,
                            Lisa) (Entered: 06/02/2021)
  06/14/2021             60 Letter requesting additional discovery pursuant to Local Rule 116.3 as to David Harville
                            (Gelb, Daniel) (Entered: 06/14/2021)
  06/22/2021             61 Response to letter requesting additional discovery pursuant to Local Rule 116.3 as to Jim
                            Baugh, David Harville (Kosto, Seth) (Entered: 06/22/2021)
  06/29/2021             63 Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B.
                            Bowler: Status Conference as to Jim Baugh, David Harville held on 6/29/2021, Case
                            called, counsel appear by telephone, government will promptly respond to latest discovery
                            request, further Status Conference set for 7/29/2021 02:45 PM in Remote Proceeding :
                            Boston before Magistrate Judge Marianne B. Bowler. COUNSEL ARE DIRECTED TO
                            APPEAR BY PHONE by calling 888-675-2535 approximately five minutes prior to the
                            conference, using Access Code 6641794. If, for some reason, the call is disconnected, dial
                            back in. NOTE that yours may not be the first case called, but please remain on the line
                            until it is. Counsel agree to exclude time through that date and government will file an
                            assented to motion. (Attorneys present: Kosto, Fick, Marx, Gelb, McDougal. )Court
                            Reporter Name and Contact or digital recording information: Kelly Mortellite at
                            mortellite@gmail.com. (Belpedio, Lisa) (Entered: 07/01/2021)
  07/01/2021             64 Assented to MOTION for Excludable Delay from June 29, 2021 to July 29, 2021 as to Jim
                            Baugh, David Harville by USA. (Kosto, Seth) (Entered: 07/01/2021)
  07/06/2021             65 Magistrate Judge Marianne B. Bowler: ELECTRONIC ORDER entered granting 64
                            MAssented to MOTION for Excludable Delay from June 29, 2021 to July 29, 2021 as to
                            Jim Baugh (1), David Harville (2) (Belpedio, Lisa) (Entered: 07/07/2021)
  07/06/2021             66 Magistrate Judge Marianne B. Bowler: ORDER ON EXCLUDABLE DELAY as to Jim
                            Baugh, David Harville. Time excluded from June 29, 2021 until July 29, 2021. Reason for
                            entry of order on excludable delay: 18 USC 3161(h)(7)(A) Interests of justice. (Belpedio,
                            Lisa) (Entered: 07/07/2021)



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                                                                    07/19/2021 10:19:14
                                      PACER
                                                         Rose5707:2824470:0 Client Code:
                                      Login:
                                                                               Search      1:20-cr-10263-
                                      Description:       Docket Report
                                                                               Criteria:   PBS
                                      Billable
                                                         6                     Cost:       0.60
                                      Pages:




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                                                                                                                        VICTIM

                                        United States District Court
                                     District of Massachusetts (Boston)
                            CRIMINAL DOCKET FOR CASE #: 1:20-cr-10098-WGY-1


 Case title: USA v. Gilbert et al                                                     Date Filed: 05/22/2020


 Assigned to: Judge William G. Young

 Defendant (1)
 Brian Gilbert                                                           represented by Miranda Kane
                                                                                        Conrad | Metlitzky | Kane LLP
                                                                                        Four Embarcadero Center
                                                                                        Suite1400
                                                                                        San Francisco, CA 94111
                                                                                        415-343-7100
                                                                                        Fax: 415-343-7101
                                                                                        Email: mkane@conmetkane.com
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Retained

                                                                                       Douglas S. Brooks
                                                                                       Libby Hoopes Brooks, P.C.
                                                                                       399 Boylston Street, Suite 600
                                                                                       Boston, MA 02116
                                                                                       617-338-9300
                                                                                       Fax: 617-338-9911
                                                                                       Email: dbrooks@lhblaw.com
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Retained

 Pending Counts                                                                        Disposition
 18 U.S.C. § 371- CONSPIRACY TO
 COMMIT CYBERSTALKING
 (1)
 18 U.S.C. § 371- CONSPIRACY TO
 TAMPER WITH A WITNESS
 (2)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                     Disposition
 None

https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?795678013045949-L_1_0-1                                                      1/5
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                                                                                  6.3.3 as of 11/7/2020


 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 None



 Plaintiff
 USA                                                                     represented by David J. D'Addio
                                                                                        US Attorney's Office - MA
                                                                                        J. Joseph Moakley U.S. Courthouse
                                                                                        1 Courthouse Way
                                                                                        Suite 9200
                                                                                        Boston, MA 02210
                                                                                        617-748-3100
                                                                                        Email: daddiod@sec.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Assistant US Attorney

                                                                                       Seth B. Kosto
                                                                                       United States Attorney's Office MA
                                                                                       1 Courthouse Way
                                                                                       Suite 9200
                                                                                       Boston, MA 02210
                                                                                       617-748-3230
                                                                                       Email: seth.kosto@usdoj.gov
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Assistant US Attorney


  Date Filed              #     Docket Text
  05/22/2020               1 INFORMATION - Felony (Sealed) as to Brian Gilbert (1) count(s) 1, 2, Stephanie Popp (2)
                             count(s) 1, 2, Stephanie Stockwell (3) count(s) 1, 2, Veronica Zea (4) count(s) 1, 2.
                             (Attachments: # 1 JS45 Gilbert, # 2 JS45 Popp, # 3 JS45 Stockwell, # 4 JS45 Zea)
                             (DaSilva, Carolina) (Entered: 05/22/2020)
  05/22/2020               2 MOTION to Seal as to Brian Gilbert, Stephanie Popp, Stephanie Stockwell, Veronica Zea
                             by USA. (DaSilva, Carolina) (Entered: 05/22/2020)
  05/22/2020               3 ELECTRONIC NOTICE of Case Assignment as to Brian Gilbert, Stephanie Popp,
                             Stephanie Stockwell, Veronica Zea; Judge William G. Young assigned to case. (Danieli,
                             Chris) (Entered: 05/22/2020)
  06/12/2020               4 MOTION to Unseal Case Upon Arrest as to Brian Gilbert, Stephanie Popp, Stephanie
                             Stockwell, Veronica Zea by USA. (Paine, Matthew) (Entered: 06/12/2020)
  06/15/2020               5 Judge William G. Young: ELECTRONIC ORDER entered granting 4 MOTION to Unseal
                             Case Upon Arrest as to Brian Gilbert (1), Stephanie Popp (2), Stephanie Stockwell (3),
                             Veronica Zea (4) (Paine, Matthew) (Entered: 06/15/2020)

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  09/02/2020             6 NOTICE OF ATTORNEY APPEARANCE: Douglas S. Brooks appearing for Brian
                            Gilbert. Type of Appearance: Retained. (Brooks, Douglas) (Entered: 09/02/2020)
  09/02/2020               7 Assented to MOTION for Leave to Appear Pro Hac Vice by Miranda Kane Filing fee $
                             100, receipt number 0101-8401015, by Brian Gilbert. (Attachments: # 1 Exhibit A
                             (Certificate of Miranda Kane))(Brooks, Douglas) Modified on 9/10/2020 to Correct
                             Parties Filers as Counsel Incorrectly Filed the Motion as to All Defendants - The
                             Motion ONLY Applies to Defendant Gilbert (Paine, Matthew). (Entered: 09/02/2020)
  09/03/2020               9 Judge William G. Young: ELECTRONIC ORDER entered granting 7 Motion for Leave to
                             Appear Pro Hac Vice. Added Miranda Kane. Attorneys admitted Pro Hac Vice must
                             register for electronic filing if the attorney does not already have an ECF account in this
                             district. To register go to the Court website at www.mad.uscourts.gov. Select Case
                             Information, then Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                             as to Brian Gilbert (1) (Paine, Matthew) (Entered: 09/03/2020)
  09/06/2020             10 NOTICE OF ATTORNEY APPEARANCE: Miranda Kane appearing for Brian Gilbert.
                            Type of Appearance: Retained. (Kane, Miranda) (Entered: 09/06/2020)
  09/23/2020             18 ELECTRONIC NOTICE OF HEARING as to Brian Gilbert, Stephanie Popp, Stephanie
                            Stockwell, Veronica Zea: Waiver of Indictment and Plea to Information hearing set for
                            10/8/2020 02:00 PM in Remote Proceeding : Boston before Judge William G. Young.

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Counsel is to contact U.S. Probation and Pretrial Services as soon as possible
                                http://www.map.uscourts.gov/psi-interview-schedule to determine scheduling of the
                                presentence interview. (Gaudet, Jennifer) (Entered: 09/23/2020)
  09/30/2020             19 MOTION to Continue to 10-29-2020 to Rule 11 hearing as to Brian Gilbert. (Kane,
                            Miranda) (Entered: 09/30/2020)
  10/06/2020             21 Judge William G. Young: ELECTRONIC ORDER entered granting 19 Motion to Continue
                            as to Brian Gilbert (1).Waiver of Indictment and Plea to Information hearing reset for
                            10/29/2020 at 3:00 PM in Remote Proceeding : Boston before Judge William G. Young.
                            (Gaudet, Jennifer) (Entered: 10/06/2020)
  10/06/2020             22 Judge William G. Young: ELECTRONIC ORDER entered. ORDER ON EXCLUDABLE
                            DELAY as to Brian Gilbert. Time excluded from 10/8/2020 until 10/29/2020. Reason for
                            entry of order on excludable delay: 18 USC 3161(h)(7)(A) Interests of justice. (Gaudet,
                            Jennifer) (Entered: 10/06/2020)
  10/29/2020             40 Electronic Clerk's Notes for proceedings held before Judge William G. Young: Waiver of
                            Indictment and Plea to Information as to Brian Gilbert held by video on 10/29/2020. The
                            defendant consents to proceed by video and is sworn. The Court conducts colloquy with
                            defendant. Defendant waives indictment, waiver is filed. The government announces top of
                            sentencing guideline without regard to any mitigating factors. Defendant waives reading of
                            information. After hearing facts of the case, the Court finds the defendant knowingly,
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?795678013045949-L_1_0-1                                                        3/5
7/19/2021               Case 1:21-cv-11181-PBS       Document
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                            intelligently and voluntarily exercises his right to plead guilty. Plea entered by Brian
                            Gilbert (1) Count 1, 2 (1) Guilty. Sentencing is set for May 6, 2021 at 2:00 PM. Defendant
                            is released on conditions. (Attorneys present: Ausa Kosto for the government and Attorney
                            Kane for the defendant, US Probation Officer Fitzpatrick. )Court Reporter Name and
                            Contact or digital recording information: Richard Romanow at
                            bulldog@richromanow.com. (Gaudet, Jennifer) (Entered: 10/29/2020)
  10/29/2020             42 PLEA AGREEMENT as to Brian Gilbert. (Gaudet, Jennifer) (Entered: 10/29/2020)
  10/29/2020             45 WAIVER OF INDICTMENT by Brian Gilbert. (Gaudet, Jennifer) (Entered: 10/29/2020)
  11/03/2020             49 Personal recognizance bond entered as to Brian Gilbert. (Gaudet, Jennifer) (Entered:
                            11/03/2020)
  11/03/2020             50 Judge William G. Young: ORDER entered; ORDER Setting Conditions of Release as to
                            Brian Gilbert (1). Personal recognizance bond as to Brian Gilbert. (Gaudet, Jennifer)
                            (Entered: 11/03/2020)
  11/03/2020             51 Judge William G. Young: ORDER entered. PROCEDURAL ORDER re sentencing
                            hearing as to Brian Gilbert. Sentencing set for 5/6/2021 at 2:00 PM in Courtroom 18 before
                            Judge William G. Young. (Gaudet, Jennifer) (Entered: 11/03/2020)
  02/11/2021             53 NOTICE of Change of Firm Association by Brian Gilbert as to Brian Gilbert, Stephanie
                            Popp, Stephanie Stockwell, Veronica Zea (Kane, Miranda) (Entered: 02/11/2021)
  02/23/2021             54 ELECTRONIC NOTICE OF RESCHEDULING as to Brian Gilbert Sentencing REset (per
                            request of counsel) for 7/15/2021 at 2:00 PM in Courtroom 18 before Judge William G.
                            Young. (Gaudet, Jennifer) (Entered: 02/23/2021)
  05/03/2021             60 Transcript of Plea Change as to Brian Gilbert, Stephanie Stockwell held on October 29,
                            2020, before Judge William G. Young. Court Reporter Name and Contact Information:
                            Richard Romanow at bulldog@richromanow.com The Transcript may be purchased
                            through the Court Reporter, viewed at the public terminal, or viewed through PACER after
                            it is released. Redaction Request due 5/24/2021. Redacted Transcript Deadline set for
                            6/3/2021. Release of Transcript Restriction set for 8/2/2021. (Coppola, Katelyn) (Entered:
                            05/05/2021)
  05/03/2021             61 NOTICE is hereby given that an official transcript of a proceeding has been filed by the
                            court reporter in the above-captioned matter. Counsel are referred to the Court's Transcript
                            Redaction Policy, available on the court website at
                            http://www.mad.uscourts.gov/attorneys/general-info.htm (Coppola, Katelyn) (Entered:
                            05/05/2021)
  06/04/2021             62 ELECTRONIC NOTICE OF RESCHEDULING as to Brian Gilbert. Sentencing reset for
                            9/30/2021 at 2:00 PM in Courtroom 18 before Judge William G. Young. Counsel shall
                            notify the Court and Probation by 7/15/2021 of the suitability of the new sentencing
                            date. (Gaudet, Jennifer) (Entered: 06/04/2021)



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                                                                 Transaction Receipt
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                                      PACER
                                                        Rose5707:2824470:0 Client Code:
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                                      Description:      Docket Report
                                                                              Criteria:   WGY

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                                      Billable          3                Cost:      0.30
                                      Pages:




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7/19/2021               Case 1:21-cv-11181-PBS   Document
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                                                                                                                         VICTIM

                                        United States District Court
                                     District of Massachusetts (Boston)
                            CRIMINAL DOCKET FOR CASE #: 1:20-cr-10126-ADB-1


 Case title: USA v. Cooke                                                              Date Filed: 07/07/2020


 Assigned to: Judge Allison D. Burroughs

 Defendant (1)
 Philip Cooke                                                            represented by Susan G. Winkler
                                                                                        Winkler Law LLC
                                                                                        120 Holmes Street
                                                                                        Unit 313
                                                                                        Quincy, MA 02171
                                                                                        United Sta
                                                                                        617-642-6671
                                                                                        Email: winkler.susan@gmail.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

 Pending Counts                                                                        Disposition
 18 U.S.C. § 371- CONSPIRACY TO
 COMMIT CYBERSTALKING
 (1)
 18 U.S.C. § 371- CONSPIRACY TO
 TAMPER WITH A WITNESS
 (2)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 None



 Plaintiff
 USA                                                                     represented by David J. D'Addio
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?156438052694347-L_1_0-1                                                       1/4
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                                                                                 US Attorney's Office - MA
                                                                                 J. Joseph Moakley U.S. Courthouse
                                                                                 1 Courthouse Way
                                                                                 Suite 9200
                                                                                 Boston, MA 02210
                                                                                 617-748-3100
                                                                                 Email: daddiod@sec.gov
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED
                                                                                 Designation: Assistant US Attorney

                                                                               Seth B. Kosto
                                                                               United States Attorney's Office MA
                                                                               1 Courthouse Way
                                                                               Suite 9200
                                                                               Boston, MA 02210
                                                                               617-748-3230
                                                                               Email: seth.kosto@usdoj.gov
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED
                                                                               Designation: Assistant US Attorney

  Date Filed              #     Docket Text
  07/07/2020               1 INFORMATION (Felony) as to Philip Cooke (1) count(s) 1, 2. (Attachments: # 1 JS45)
                             (DaSilva, Carolina) (Entered: 07/07/2020)
  07/07/2020               2 ELECTRONIC NOTICE of Case Assignment as to Philip Cooke; Judge Allison D.
                             Burroughs assigned to case. (Finn, Mary) (Entered: 07/07/2020)
  07/09/2020               3 NOTICE OF ATTORNEY APPEARANCE: Susan G. Winkler appearing for Philip Cooke.
                             Type of Appearance: Retained. (Winkler, Susan) (Entered: 07/09/2020)
  09/24/2020               4 ELECTRONIC NOTICE OF HEARING as to Philip Cooke

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Waiver of Indictment and Plea to Information hearing set for 10/27/2020 10:30 AM in
                                Remote Proceeding before Judge Allison D. Burroughs.

                                Counsel is to contact U.S. Probation and Pretrial Services as soon as possible
                                http://www.map.uscourts.gov/psi-interview-schedule to determine scheduling of the
                                presentence interview. (Folan, Karen) (Entered: 09/24/2020)
  10/23/2020               5 PLEA AGREEMENT as to Philip Cooke (Kosto, Seth) (Entered: 10/23/2020)

https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?156438052694347-L_1_0-1                                                        2/4
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  10/26/2020             6 ELECTRONIC NOTICE OF RESCHEDULING as to Philip Cooke

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Waiver of Indictment and Plea to Information hearing set for 10/27/2020 09:00 AM in
                                Remote Proceeding : Boston before Judge Allison D. Burroughs. (Folan, Karen) (Entered:
                                10/26/2020)
  10/27/2020               7 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs: Initial
                             Appearance as to Philip Cooke held on 10/27/2020 (Attorneys present: AUSA Kosto,
                             Winkler. )Court Reporter Name and Contact or digital recording information: Joan Daly at
                             joanmdaly62@gmail.com. (Folan, Karen) (Entered: 10/27/2020)
  10/27/2020               8 WAIVER OF INDICTMENT by Philip Cooke.(Folan, Karen) (Entered: 10/27/2020)
  10/27/2020               9 Electronic Clerk's Notes for proceedings held before Judge Allison D. Burroughs: Waiver
                             of Indictment and Plea to Information as to Philip Cooke held on 10/27/2020. Defendant
                             sworn. Colloquy with defendant regarding waiver of being physically present in the
                             courtroom. Defendant waives right and court proceeds by video. Colloquy with defendant
                             regarding educational background, mental health, state of mind, nature of charges and
                             rights, representation of counsel, plea agreement. Govt. states maximum penalties,
                             elements of the offense, and summarizes evidence if case were to go to trial. Plea entered
                             by Philip Cooke (1) Guilty Count 1,2. Court accepts plea. Sentencing set for 2/24/2021
                             12:00 PM in Courtroom 17 before Judge Allison D. Burroughs. Defendant to remain on
                             release with conditions. Order to issue.(Attorneys present: AUSA Kosto, Winkler. )Court
                             Reporter Name and Contact or digital recording information: Joan Daly at
                             joanmdaly62@gmail.com. (Folan, Karen) (Entered: 10/27/2020)
  10/27/2020             10 Judge Allison D. Burroughs: ORDER entered. ORDER Setting Conditions of Release as to
                            Philip Cooke. (Folan, Karen) (Entered: 10/27/2020)
  01/11/2021             11 Assented to MOTION to Continue Sentencing to 05/25/2021 as to Philip Cooke by USA.
                            (Kosto, Seth) (Entered: 01/11/2021)
  01/12/2021             12 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 11 Motion to
                            Continue as to Philip Cooke (1). Sentencing reset for 5/26/2021 12:00 PM in Courtroom
                            17 before Judge Allison D. Burroughs. (Folan, Karen) (Entered: 01/12/2021)
  03/31/2021             13 Assented to MOTION to Continue Sentencing to July 2021 to Sentencing as to Philip
                            Cooke. (Attachments: # 1 Exhibit A - LA Times article, # 2 Exhibit B - Kaiser notice, # 3
                            Exhibit C - Healthline article)(Winkler, Susan) (Entered: 03/31/2021)
  03/31/2021             14 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 13 Motion to
                            Continue as to Philip Cooke (1). Sentencing reset for 7/20/2021 12:00 PM in Courtroom
                            17 before Judge Allison D. Burroughs. (Folan, Karen) (Entered: 03/31/2021)
  06/14/2021             15 ELECTRONIC NOTICE OF RESCHEDULING as to Philip Cooke. Sentencing set for
                            7/27/2021 12:00 PM in Courtroom 17 before Judge Allison D. Burroughs. (Folan, Karen)
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?156438052694347-L_1_0-1                                                        3/4
7/19/2021               Case 1:21-cv-11181-PBS     Document
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                            (Entered: 06/14/2021)
  07/06/2021             16 Transcript of Rule 11 Hearing as to Philip Cooke held on October 27, 2020, before Judge
                            Allison D. Burroughs. Court Reporter Name and Contact Information: Joan Daly at
                            joanmdaly62@gmail.com The Transcript may be purchased through the Court Reporter,
                            viewed at the public terminal, or viewed through PACER after it is released. Redaction
                            Request due 7/27/2021. Redacted Transcript Deadline set for 8/6/2021. Release of
                            Transcript Restriction set for 10/4/2021. (Coppola, Katelyn) (Entered: 07/07/2021)
  07/06/2021             17 NOTICE is hereby given that an official transcript of a proceeding has been filed by the
                            court reporter in the above-captioned matter. Counsel are referred to the Court's Transcript
                            Redaction Policy, available on the court website at
                            http://www.mad.uscourts.gov/attorneys/general-info.htm (Coppola, Katelyn) (Entered:
                            07/07/2021)
  07/14/2021             18 Assented to MOTION for Leave to File Excess Pages for Sentencing Memorandum as to
                            Philip Cooke. (Winkler, Susan) (Entered: 07/14/2021)
  07/14/2021             19 Judge Allison D. Burroughs: ELECTRONIC ORDER entered granting 18 Assented to
                            MOTION for Leave to File Excess Pages for Sentencing Memorandum ; Counsel using the
                            Electronic Case Filing System should now file the document for which leave to file has
                            been granted in accordance with the CM/ECF Administrative Procedures. Counsel must
                            include - Leave to file granted on (date of order)- in the caption of the document. as to
                            Philip Cooke (1) (McDonagh, Christina) (Entered: 07/14/2021)



                                                             PACER Service Center
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                                                        Rose5707:2824470:0 Client Code:
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                                      Description:      Docket Report
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                                                        3                     Cost:       0.30
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                                                                                                                        VICTIM

                                        United States District Court
                                     District of Massachusetts (Boston)
                            CRIMINAL DOCKET FOR CASE #: 1:20-cr-10098-WGY-2


 Case title: USA v. Gilbert et al                                                     Date Filed: 05/22/2020


 Assigned to: Judge William G. Young

 Defendant (2)
 Stephanie Popp                                                          represented by Adam J. Bookbinder
                                                                                        Choate Hall & Stewart
                                                                                        2 International Place
                                                                                        Boston, MA 02110
                                                                                        Email: abookbinder@choate.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Retained

                                                                                       Rachna Vyas
                                                                                       Choate, Hall & Stewart
                                                                                       Two International Place
                                                                                       100-150 Oliver Street
                                                                                       Boston, MA 02110
                                                                                       617-248-4868
                                                                                       Email: rvyas@choate.com
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Retained

 Pending Counts                                                                        Disposition
 18 U.S.C. § 371- CONSPIRACY TO
 COMMIT CYBERSTALKING
 (1)
 18 U.S.C. § 371- CONSPIRACY TO
 TAMPER WITH A WITNESS
 (2)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)
 None

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                                             CM/ECF             1-4 Filed
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                                                                                  6.3.3 as of 11/7/2020


 Complaints                                                                            Disposition
 None



 Plaintiff
 USA                                                                     represented by David J. D'Addio
                                                                                        US Attorney's Office - MA
                                                                                        J. Joseph Moakley U.S. Courthouse
                                                                                        1 Courthouse Way
                                                                                        Suite 9200
                                                                                        Boston, MA 02210
                                                                                        617-748-3100
                                                                                        Email: daddiod@sec.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Assistant US Attorney

                                                                                       Seth B. Kosto
                                                                                       United States Attorney's Office MA
                                                                                       1 Courthouse Way
                                                                                       Suite 9200
                                                                                       Boston, MA 02210
                                                                                       617-748-3230
                                                                                       Email: seth.kosto@usdoj.gov
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Assistant US Attorney


  Date Filed              #     Docket Text
  05/22/2020               1 INFORMATION - Felony (Sealed) as to Brian Gilbert (1) count(s) 1, 2, Stephanie Popp (2)
                             count(s) 1, 2, Stephanie Stockwell (3) count(s) 1, 2, Veronica Zea (4) count(s) 1, 2.
                             (Attachments: # 1 JS45 Gilbert, # 2 JS45 Popp, # 3 JS45 Stockwell, # 4 JS45 Zea)
                             (DaSilva, Carolina) (Entered: 05/22/2020)
  05/22/2020               2 MOTION to Seal as to Brian Gilbert, Stephanie Popp, Stephanie Stockwell, Veronica Zea
                             by USA. (DaSilva, Carolina) (Entered: 05/22/2020)
  05/22/2020               3 ELECTRONIC NOTICE of Case Assignment as to Brian Gilbert, Stephanie Popp,
                             Stephanie Stockwell, Veronica Zea; Judge William G. Young assigned to case. (Danieli,
                             Chris) (Entered: 05/22/2020)
  06/12/2020               4 MOTION to Unseal Case Upon Arrest as to Brian Gilbert, Stephanie Popp, Stephanie
                             Stockwell, Veronica Zea by USA. (Paine, Matthew) (Entered: 06/12/2020)
  06/15/2020               5 Judge William G. Young: ELECTRONIC ORDER entered granting 4 MOTION to Unseal
                             Case Upon Arrest as to Brian Gilbert (1), Stephanie Popp (2), Stephanie Stockwell (3),
                             Veronica Zea (4) (Paine, Matthew) (Entered: 06/15/2020)
  09/02/2020               8 NOTICE OF ATTORNEY APPEARANCE: Adam J. Bookbinder appearing for Stephanie
                             Popp. Type of Appearance: Retained. (Bookbinder, Adam) (Entered: 09/02/2020)
  09/23/2020             18 ELECTRONIC NOTICE OF HEARING as to Brian Gilbert, Stephanie Popp, Stephanie
                            Stockwell, Veronica Zea: Waiver of Indictment and Plea to Information hearing set for
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?115709738369405-L_1_0-1                                                       2/4
7/19/2021               Case 1:21-cv-11181-PBS    Document
                                              CM/ECF             1-4 Filed
                                                     - USDC Massachusetts - Version07/21/21          Page 29 of 38
                                                                                   6.3.3 as of 11/7/2020

                            10/8/2020 02:00 PM in Remote Proceeding : Boston before Judge William G. Young.

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Counsel is to contact U.S. Probation and Pretrial Services as soon as possible
                                http://www.map.uscourts.gov/psi-interview-schedule to determine scheduling of the
                                presentence interview. (Gaudet, Jennifer) (Entered: 09/23/2020)
  10/05/2020             20 MOTION to Substitute Attorney as to Stephanie Popp. (Bookbinder, Adam) (Entered:
                            10/05/2020)
  10/06/2020             23 Judge William G. Young: ELECTRONIC ORDER entered granting 20 Motion to
                            Substitute Attorney as to Stephanie Popp (2). (Gaudet, Jennifer) (Entered: 10/06/2020)
  10/06/2020             24 NOTICE OF ATTORNEY APPEARANCE: Rachna Vyas appearing for Stephanie Popp.
                            Type of Appearance: Retained. (Vyas, Rachna) (Entered: 10/06/2020)
  10/08/2020             29 Electronic Clerk's Notes for proceedings held before Judge William G. Young: Waiver of
                            Indictment and Plea to Information as to Stephanie Popp held by video on 10/8/2020.
                            Defendant consents to proceed by video. Plea agreement filed. Defendant is sworn. The
                            Court conducts colloquy with the defendant. Defendant waives indictment, waiver filed.
                            The government announces top of applicable guideline without mitigating factors and
                            guideline range with discount for guilty plea. Defendant waives reading of information.
                            After hearing facts of the case, the Court finds the defendant knowingly, intelligently and
                            voluntarily exercises her right to plead guilty. Plea entered by Stephanie Popp (2) Guilty
                            Count 1 and 2. Sentencing is set for February 25, 2021 at 2:00 PM. Defendant released on
                            conditions recommended by probation. (Attorneys present: Ausa Kosto for the
                            government, Attorneys Bookbinder and Vyas for the defendant and US Probation Officer
                            Sousa. )Court Reporter Name and Contact or digital recording information: Richard
                            Romanow at bulldog@richromanow.com. (Gaudet, Jennifer) Modified on 10/23/2020
                            (Gaudet, Jennifer). (Entered: 10/23/2020)
  10/08/2020             30 PLEA AGREEMENT as to Stephanie Popp. (Gaudet, Jennifer) (Entered: 10/23/2020)
  10/08/2020             31 WAIVER OF INDICTMENT by Stephanie Popp. (Gaudet, Jennifer) (Entered: 10/23/2020)
  10/08/2020             35 Judge William G. Young: ORDER entered. PROCEDURAL ORDER re sentencing
                            hearing as to Stephanie Popp, Veronica Zea. Sentencing set for 2/25/2021 at 2:00 PM
                            before Judge William G. Young. (Gaudet, Jennifer) (Entered: 10/23/2020)
  10/19/2020             27 Transcript of Plea Change as to Stephanie Popp held on October 8, 2020, before Judge
                            William G. Young. Court Reporter Name and Contact Information: Richard Romanow at
                            bulldog@richromanow.com The Transcript may be purchased through the Court Reporter,
                            viewed at the public terminal, or viewed through PACER after it is released. Redaction
                            Request due 11/9/2020. Redacted Transcript Deadline set for 11/19/2020. Release of
                            Transcript Restriction set for 1/19/2021. (Coppola, Katelyn) (Entered: 10/20/2020)
  10/19/2020             28 NOTICE is hereby given that an official transcript of a proceeding has been filed by the
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?115709738369405-L_1_0-1                                                        3/4
7/19/2021               Case 1:21-cv-11181-PBS       Document
                                                 CM/ECF             1-4 Filed
                                                        - USDC Massachusetts - Version07/21/21          Page 30 of 38
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                            court reporter in the above-captioned matter. Counsel are referred to the Court's Transcript
                            Redaction Policy, available on the court website at
                            http://www.mad.uscourts.gov/attorneys/general-info.htm (Coppola, Katelyn) (Entered:
                            10/20/2020)
  10/28/2020             36 Personal recognizance Bond entered as to Stephanie Popp. (Gaudet, Jennifer) Modified on
                            10/28/2020 to change the type of bond (Gaudet, Jennifer). (Entered: 10/28/2020)
  10/28/2020             37 Judge William G. Young: ORDER entered; ORDER Setting Conditions of Release as to
                            Stephanie Popp (2). Personal recognizance bond as to Stephanie Popp. (Gaudet, Jennifer)
                            (Entered: 10/28/2020)
  01/06/2021             52 ELECTRONIC NOTICE OF RESCHEDULING (per request of counsel) as to Stephanie
                            Popp, Stephanie Stockwell, Veronica Zea. Sentencing reset for 5/27/2021 at 2:00 PM in
                            Courtroom 18 before Judge William G. Young. (Gaudet, Jennifer) (Entered: 01/06/2021)
  02/11/2021             53 NOTICE of Change of Firm Association by Brian Gilbert as to Brian Gilbert, Stephanie
                            Popp, Stephanie Stockwell, Veronica Zea (Kane, Miranda) (Entered: 02/11/2021)
  04/07/2021             57 Set/Reset Hearings as to Stephanie Popp, Stephanie Stockwell, Veronica Zea. Sentencing
                            reset for 9/28/2021 at 2:00 PM in Courtroom 18 before Judge William G. Young. (Gaudet,
                            Jennifer) (Entered: 04/07/2021)
  04/12/2021             58 Assented to MOTION to Modify Conditions of Release as to Stephanie Popp. (Vyas,
                            Rachna) (Entered: 04/12/2021)
  04/13/2021             59 Judge William G. Young: ELECTRONIC ORDER entered granting 58 Assented to Motion
                            to Modify Conditions of Release as to Stephanie Popp (2). (Gaudet, Jennifer) (Entered:
                            04/13/2021)



                                                             PACER Service Center
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                                                                    07/19/2021 10:16:33
                                      PACER
                                                        Rose5707:2824470:0 Client Code:
                                      Login:
                                                                              Search      1:20-cr-10098-
                                      Description:      Docket Report
                                                                              Criteria:   WGY
                                      Billable
                                                        3                     Cost:       0.30
                                      Pages:




https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?115709738369405-L_1_0-1                                                     4/4
7/19/2021               Case 1:21-cv-11181-PBS   Document
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                                                                                                                       VICTIM

                                        United States District Court
                                     District of Massachusetts (Boston)
                            CRIMINAL DOCKET FOR CASE #: 1:20-cr-10098-WGY-3


 Case title: USA v. Gilbert et al                                                     Date Filed: 05/22/2020


 Assigned to: Judge William G. Young

 Defendant (3)
 Stephanie Stockwell                                                     represented by Gail Shifman
                                                                                        Law Office of Gail Shifman
                                                                                        2431 Fillmore Street
                                                                                        San Francisco, CA 94115
                                                                                        415-551-1500
                                                                                        Email: gail@shifmangroup.com
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Retained

                                                                                       Tracy A. Miner
                                                                                       Miner Siddall LLP
                                                                                       101 Federal Street
                                                                                       Suite 650
                                                                                       Boston, MA 02110
                                                                                       617-202-5890
                                                                                       Fax: 617-202-5893
                                                                                       Email: tminer@msdefenders.com
                                                                                       ATTORNEY TO BE NOTICED

 Pending Counts                                                                        Disposition
 18 U.S.C. § 371- CONSPIRACY TO
 COMMIT CYBERSTALKING
 (1)
 18 U.S.C. § 371- CONSPIRACY TO
 TAMPER WITH A WITNESS
 (2)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                     Disposition
 None

 Highest Offense Level (Terminated)

https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?963442702300067-L_1_0-1                                                     1/4
7/19/2021               Case 1:21-cv-11181-PBS   Document
                                             CM/ECF             1-4 Filed
                                                    - USDC Massachusetts - Version07/21/21          Page 32 of 38
                                                                                  6.3.3 as of 11/7/2020

 None

 Complaints                                                                            Disposition
 None



 Plaintiff
 USA                                                                     represented by David J. D'Addio
                                                                                        US Attorney's Office - MA
                                                                                        J. Joseph Moakley U.S. Courthouse
                                                                                        1 Courthouse Way
                                                                                        Suite 9200
                                                                                        Boston, MA 02210
                                                                                        617-748-3100
                                                                                        Email: daddiod@sec.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Assistant US Attorney

                                                                                       Seth B. Kosto
                                                                                       United States Attorney's Office MA
                                                                                       1 Courthouse Way
                                                                                       Suite 9200
                                                                                       Boston, MA 02210
                                                                                       617-748-3230
                                                                                       Email: seth.kosto@usdoj.gov
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Assistant US Attorney


  Date Filed              #     Docket Text
  05/22/2020               1 INFORMATION - Felony (Sealed) as to Brian Gilbert (1) count(s) 1, 2, Stephanie Popp (2)
                             count(s) 1, 2, Stephanie Stockwell (3) count(s) 1, 2, Veronica Zea (4) count(s) 1, 2.
                             (Attachments: # 1 JS45 Gilbert, # 2 JS45 Popp, # 3 JS45 Stockwell, # 4 JS45 Zea)
                             (DaSilva, Carolina) (Entered: 05/22/2020)
  05/22/2020               2 MOTION to Seal as to Brian Gilbert, Stephanie Popp, Stephanie Stockwell, Veronica Zea
                             by USA. (DaSilva, Carolina) (Entered: 05/22/2020)
  05/22/2020               3 ELECTRONIC NOTICE of Case Assignment as to Brian Gilbert, Stephanie Popp,
                             Stephanie Stockwell, Veronica Zea; Judge William G. Young assigned to case. (Danieli,
                             Chris) (Entered: 05/22/2020)
  06/12/2020               4 MOTION to Unseal Case Upon Arrest as to Brian Gilbert, Stephanie Popp, Stephanie
                             Stockwell, Veronica Zea by USA. (Paine, Matthew) (Entered: 06/12/2020)
  06/15/2020               5 Judge William G. Young: ELECTRONIC ORDER entered granting 4 MOTION to Unseal
                             Case Upon Arrest as to Brian Gilbert (1), Stephanie Popp (2), Stephanie Stockwell (3),
                             Veronica Zea (4) (Paine, Matthew) (Entered: 06/15/2020)
  09/09/2020             11 NOTICE OF ATTORNEY APPEARANCE: Tracy A. Miner appearing for Stephanie
                            Stockwell. Type of Appearance: Retained. (Miner, Tracy) (Entered: 09/09/2020)

https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?963442702300067-L_1_0-1                                                       2/4
7/19/2021               Case 1:21-cv-11181-PBS      Document
                                               CM/ECF             1-4 Filed
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                                                                                    6.3.3 as of 11/7/2020

  09/10/2020            12 Assented to MOTION for Leave to Appear Pro Hac Vice by Gail Shifman Filing fee $ 100,
                            receipt number 0101-8410934. as to Stephanie Stockwell. (Attachments: # 1 Affidavit)
                            (Miner, Tracy) (Entered: 09/10/2020)
  09/10/2020             14 Judge William G. Young: ELECTRONIC ORDER entered granting 12 Motion for Leave
                            to Appear Pro Hac Vice. Added Gail Shifman. Attorneys admitted Pro Hac Vice must
                            register for electronic filing if the attorney does not already have an ECF account in this
                            district. To register go to the Court website at www.mad.uscourts.gov. Select Case
                            Information, then Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                            as to Stephanie Stockwell (3) (Paine, Matthew) (Entered: 09/10/2020)
  09/11/2020             15 NOTICE OF ATTORNEY APPEARANCE: Gail Shifman appearing for Stephanie
                            Stockwell. Type of Appearance: Retained. (Shifman, Gail) (Entered: 09/11/2020)
  09/23/2020             18 ELECTRONIC NOTICE OF HEARING as to Brian Gilbert, Stephanie Popp, Stephanie
                            Stockwell, Veronica Zea: Waiver of Indictment and Plea to Information hearing set for
                            10/8/2020 02:00 PM in Remote Proceeding : Boston before Judge William G. Young.

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Counsel is to contact U.S. Probation and Pretrial Services as soon as possible
                                http://www.map.uscourts.gov/psi-interview-schedule to determine scheduling of the
                                presentence interview. (Gaudet, Jennifer) (Entered: 09/23/2020)
  10/07/2020             25 Assented to MOTION to Continue to October 29, 2020 to Rule 11 Hearng as to Stephanie
                            Stockwell. (Shifman, Gail) (Entered: 10/07/2020)
  10/07/2020             26 Judge William G. Young: ELECTRONIC ORDER entered granting 25 Assented to Motion
                            to Continue as to Stephanie Stockwell (3).Waiver of Indictment and Plea to Information
                            hearing reset for 10/29/2020 at 3:00 PM in Remote Proceeding : Boston before Judge
                            William G. Young. (Gaudet, Jennifer) (Entered: 10/07/2020)
  10/29/2020             41 Electronic Clerk's Notes for proceedings held before Judge William G. Young: Waiver of
                            Indictment and Plea to Information as to Stephanie Stockwell held by video on 10/29/2020.
                            The defendant consents to proceed by video and is sworn. The Court conducts colloquy
                            with defendant. Defendant waives indictment, waiver is filed. The government announces
                            top of sentencing guideline without regard to any mitigating factors. Defendant waives
                            reading of information. After hearing facts of the case, the Court finds the defendant
                            knowingly, intelligently and voluntarily exercises her right to plead guilty. Plea entered by
                            Stephanie Stockwell (3) Count 1,2 Guilty. Sentencing is set for March 11, 2021 at 2:00
                            PM. Defendant is released on conditions. (Attorneys present: Ausa Kosto for the
                            government, Attorneys Miner and Shifman for the defendant and US probation officer
                            Fitzpatrick. )Court Reporter Name and Contact or digital recording information: Richard
                            Romanow at bulldog@richromanow.com. (Gaudet, Jennifer) (Entered: 10/29/2020)
  10/29/2020             43 PLEA AGREEMENT as to Stephanie Stockwell (Gaudet, Jennifer) (Entered: 10/29/2020)
  10/29/2020             44 WAIVER OF INDICTMENT by Stephanie Stockwell. (Gaudet, Jennifer) (Entered:
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?963442702300067-L_1_0-1                                                        3/4
7/19/2021               Case 1:21-cv-11181-PBS   Document
                                             CM/ECF             1-4 Filed
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                            10/29/2020)
  10/30/2020             46 Judge William G. Young: ORDER entered; ORDER Setting Conditions of Release as to
                            Stephanie Stockwell (3). Personal recognizance as to Stephanie Stockwell. (Gaudet,
                            Jennifer) (Entered: 10/30/2020)
  10/30/2020             47 Personal recognizance bond entered as to Stephanie Stockwell. (Gaudet, Jennifer)
                            (Entered: 10/30/2020)
  10/30/2020             48 Judge William G. Young: ORDER entered. PROCEDURAL ORDER re sentencing
                            hearing as to Stephanie Stockwell. Sentencing set for 3/11/2021 at 2:00 PM in Courtroom
                            18 before Judge William G. Young. (Gaudet, Jennifer) (Entered: 10/30/2020)
  01/06/2021             52 ELECTRONIC NOTICE OF RESCHEDULING (per request of counsel) as to Stephanie
                            Popp, Stephanie Stockwell, Veronica Zea. Sentencing reset for 5/27/2021 at 2:00 PM in
                            Courtroom 18 before Judge William G. Young. (Gaudet, Jennifer) (Entered: 01/06/2021)
  02/11/2021             53 NOTICE of Change of Firm Association by Brian Gilbert as to Brian Gilbert, Stephanie
                            Popp, Stephanie Stockwell, Veronica Zea (Kane, Miranda) (Entered: 02/11/2021)
  04/07/2021             57 Set/Reset Hearings as to Stephanie Popp, Stephanie Stockwell, Veronica Zea. Sentencing
                            reset for 9/28/2021 at 2:00 PM in Courtroom 18 before Judge William G. Young. (Gaudet,
                            Jennifer) (Entered: 04/07/2021)
  05/03/2021             60 Transcript of Plea Change as to Brian Gilbert, Stephanie Stockwell held on October 29,
                            2020, before Judge William G. Young. Court Reporter Name and Contact Information:
                            Richard Romanow at bulldog@richromanow.com The Transcript may be purchased
                            through the Court Reporter, viewed at the public terminal, or viewed through PACER after
                            it is released. Redaction Request due 5/24/2021. Redacted Transcript Deadline set for
                            6/3/2021. Release of Transcript Restriction set for 8/2/2021. (Coppola, Katelyn) (Entered:
                            05/05/2021)
  05/03/2021             61 NOTICE is hereby given that an official transcript of a proceeding has been filed by the
                            court reporter in the above-captioned matter. Counsel are referred to the Court's Transcript
                            Redaction Policy, available on the court website at
                            http://www.mad.uscourts.gov/attorneys/general-info.htm (Coppola, Katelyn) (Entered:
                            05/05/2021)



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                                      PACER
                                                        Rose5707:2824470:0 Client Code:
                                      Login:
                                                                              Search      1:20-cr-10098-
                                      Description:      Docket Report
                                                                              Criteria:   WGY
                                      Billable
                                                        3                     Cost:       0.30
                                      Pages:




https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?963442702300067-L_1_0-1                                                     4/4
7/19/2021               Case 1:21-cv-11181-PBS   Document
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                                                    - USDC Massachusetts - Version07/21/21          Page 35 of 38
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                                                                                                                           VICTIM

                                        United States District Court
                                     District of Massachusetts (Boston)
                            CRIMINAL DOCKET FOR CASE #: 1:20-cr-10098-WGY-4


 Case title: USA v. Gilbert et al                                                      Date Filed: 05/22/2020


 Assigned to: Judge William G. Young

 Defendant (4)
 Veronica Zea                                                            represented by Frank R. Ubhaus
                                                                                        Berliner Cohen LLP
                                                                                        Ten Almaden Boulevard
                                                                                        Eleventh Floor
                                                                                        San Jose, CA 95113-2233
                                                                                        408-286-5800
                                                                                        Fax: 408-998-5388
                                                                                        Email: frank.ubhaus@berliner.com
                                                                                        LEAD ATTORNEY
                                                                                        PRO HAC VICE
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Retained

                                                                                       Kristen S. Scammon
                                                                                       Torres, Scammon, Hincks & Day, LLP
                                                                                       119 High Street
                                                                                       Boston, MA 02110
                                                                                       617-206-4893
                                                                                       Fax: 617-307-4427
                                                                                       Email: kscammon@tshdlegal.com
                                                                                       ATTORNEY TO BE NOTICED

 Pending Counts                                                                        Disposition
 18 U.S.C. § 371- CONSPIRACY TO
 COMMIT CYBERSTALKING
 (1)
 18 U.S.C. § 371- CONSPIRACY TO
 TAMPER WITH A WITNESS
 (2)

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                                                     Disposition
 None


https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?124054162976668-L_1_0-1                                                         1/4
7/19/2021      Case 1:21-cv-11181-PBS   Document
                                    CM/ECF             1-4 Filed
                                           - USDC Massachusetts - Version07/21/21          Page 36 of 38
                                                                         6.3.3 as of 11/7/2020

 Highest Offense Level (Terminated)
 None

 Complaints                                                                            Disposition
 None



 Plaintiff
 USA                                                                     represented by David J. D'Addio
                                                                                        US Attorney's Office - MA
                                                                                        J. Joseph Moakley U.S. Courthouse
                                                                                        1 Courthouse Way
                                                                                        Suite 9200
                                                                                        Boston, MA 02210
                                                                                        617-748-3100
                                                                                        Email: daddiod@sec.gov
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED
                                                                                        Designation: Assistant US Attorney

                                                                                       Seth B. Kosto
                                                                                       United States Attorney's Office MA
                                                                                       1 Courthouse Way
                                                                                       Suite 9200
                                                                                       Boston, MA 02210
                                                                                       617-748-3230
                                                                                       Email: seth.kosto@usdoj.gov
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Assistant US Attorney

  Date Filed              #     Docket Text
  05/22/2020               1 INFORMATION - Felony (Sealed) as to Brian Gilbert (1) count(s) 1, 2, Stephanie Popp (2)
                             count(s) 1, 2, Stephanie Stockwell (3) count(s) 1, 2, Veronica Zea (4) count(s) 1, 2.
                             (Attachments: # 1 JS45 Gilbert, # 2 JS45 Popp, # 3 JS45 Stockwell, # 4 JS45 Zea)
                             (DaSilva, Carolina) (Entered: 05/22/2020)
  05/22/2020               2 MOTION to Seal as to Brian Gilbert, Stephanie Popp, Stephanie Stockwell, Veronica Zea
                             by USA. (DaSilva, Carolina) (Entered: 05/22/2020)
  05/22/2020               3 ELECTRONIC NOTICE of Case Assignment as to Brian Gilbert, Stephanie Popp,
                             Stephanie Stockwell, Veronica Zea; Judge William G. Young assigned to case. (Danieli,
                             Chris) (Entered: 05/22/2020)
  06/12/2020               4 MOTION to Unseal Case Upon Arrest as to Brian Gilbert, Stephanie Popp, Stephanie
                             Stockwell, Veronica Zea by USA. (Paine, Matthew) (Entered: 06/12/2020)
  06/15/2020               5 Judge William G. Young: ELECTRONIC ORDER entered granting 4 MOTION to Unseal
                             Case Upon Arrest as to Brian Gilbert (1), Stephanie Popp (2), Stephanie Stockwell (3),
                             Veronica Zea (4) (Paine, Matthew) (Entered: 06/15/2020)
  09/10/2020             13 NOTICE OF ATTORNEY APPEARANCE: Kristen S. Scammon appearing for Veronica

https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?124054162976668-L_1_0-1                                                       2/4
7/19/2021               Case 1:21-cv-11181-PBS    Document
                                              CM/ECF             1-4 Filed
                                                     - USDC Massachusetts - Version07/21/21          Page 37 of 38
                                                                                   6.3.3 as of 11/7/2020

                            Zea. Type of Appearance: Retained. (Scammon, Kristen) (Entered: 09/10/2020)
  09/11/2020             16 Assented to MOTION for Leave to Appear Pro Hac Vice by Frank R. Ubhaus Filing fee $
                            100, receipt number 0101-8413313. as to Veronica Zea. (Scammon, Kristen) (Additional
                            attachment(s) added on 9/14/2020: # 1 Exhibit A) (Paine, Matthew). (Main Document 16
                            replaced on 9/14/2020) (Paine, Matthew). (Entered: 09/11/2020)
  09/14/2020             17 Judge William G. Young: ELECTRONIC ORDER entered granting 16 Motion for Leave
                            to Appear Pro Hac Vice. Added Frank R. Ubhaus. Attorneys admitted Pro Hac Vice must
                            register for electronic filing if the attorney does not already have an ECF account in this
                            district. To register go to the Court website at www.mad.uscourts.gov. Select Case
                            Information, then Electronic Filing (CM/ECF) and go to the CM/ECF Registration Form.
                            as to Veronica Zea (4) (Paine, Matthew) (Entered: 09/14/2020)
  09/23/2020             18 ELECTRONIC NOTICE OF HEARING as to Brian Gilbert, Stephanie Popp, Stephanie
                            Stockwell, Veronica Zea: Waiver of Indictment and Plea to Information hearing set for
                            10/8/2020 02:00 PM in Remote Proceeding : Boston before Judge William G. Young.

                                This hearing will be conducted by video conference. Counsel of record will receive a video
                                conference invite at the email registered in CM/ECF. If you have technical or compatibility
                                issues with the technology, please notify the session's courtroom deputy as soon as
                                possible.

                                Access to the hearing will be made available to the media and public. In order to gain
                                access to the hearing, you must sign up at the following address:
                                https://forms.mad.uscourts.gov/courtlist.html.

                                For questions regarding access to hearings, you may refer to the Court's general orders and
                                public notices available on www.mad.uscourts.gov or contact media@mad.uscourts.gov.

                                Counsel is to contact U.S. Probation and Pretrial Services as soon as possible
                                http://www.map.uscourts.gov/psi-interview-schedule to determine scheduling of the
                                presentence interview. (Gaudet, Jennifer) (Entered: 09/23/2020)
  10/08/2020             32 Electronic Clerk's Notes for proceedings held before Judge William G. Young: Waiver of
                            Indictment and Plea to Information as to Veronica Zea held by video on 10/8/2020.
                            Defendant consents to proceed by video. Plea agreement filed. Defendant is sworn. The
                            Court conducts colloquy with the defendant. Defendant waives indictment, waiver filed.
                            The government announces top of applicable guideline without mitigating factors and
                            guideline range with discount for guilty plea. Defendant waives reading of information.
                            After hearing facts of the case, the Court finds the defendant knowingly, intelligently and
                            voluntarily exercises her right to plead guilty. Plea entered by Veronica Zea (4) Guilty
                            Count 1 and 2. Sentencing is set for February 25, 2021 at 2:00 PM. Defendant released on
                            conditions recommended by probation. (Attorneys present: Ausa Kosto for the
                            government, Attorney Ubhaus for the defendant and US Probation Officer Sousa. )Court
                            Reporter Name and Contact or digital recording information: Richard Romanow at
                            bulldog@richromanow.com. (Gaudet, Jennifer) (Entered: 10/23/2020)
  10/08/2020             33 PLEA AGREEMENT as to Veronica Zea. (Gaudet, Jennifer) (Entered: 10/23/2020)
  10/08/2020             34 WAIVER OF INDICTMENT by Veronica Zea. (Gaudet, Jennifer) (Entered: 10/23/2020)
  10/08/2020             35 Judge William G. Young: ORDER entered. PROCEDURAL ORDER re sentencing
                            hearing as to Stephanie Popp, Veronica Zea. Sentencing set for 2/25/2021 at 2:00 PM
                            before Judge William G. Young. (Gaudet, Jennifer) (Entered: 10/23/2020)
  10/29/2020             38 Personal recognizance bond entered as to Veronica Zea. (Gaudet, Jennifer) (Entered:
                            10/29/2020)
https://ecf.mad.uscourts.gov/cgi-bin/DktRpt.pl?124054162976668-L_1_0-1                                                        3/4
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  10/29/2020             39 Judge William G. Young: ORDER entered; ORDER Setting Conditions of Release as to
                            Veronica Zea (4). Personal recognizance bond as to Veronica Zea. (Gaudet, Jennifer)
                            (Entered: 10/29/2020)
  01/06/2021             52 ELECTRONIC NOTICE OF RESCHEDULING (per request of counsel) as to Stephanie
                            Popp, Stephanie Stockwell, Veronica Zea. Sentencing reset for 5/27/2021 at 2:00 PM in
                            Courtroom 18 before Judge William G. Young. (Gaudet, Jennifer) (Entered: 01/06/2021)
  02/11/2021             53 NOTICE of Change of Firm Association by Brian Gilbert as to Brian Gilbert, Stephanie
                            Popp, Stephanie Stockwell, Veronica Zea (Kane, Miranda) (Entered: 02/11/2021)
  04/07/2021             57 Set/Reset Hearings as to Stephanie Popp, Stephanie Stockwell, Veronica Zea. Sentencing
                            reset for 9/28/2021 at 2:00 PM in Courtroom 18 before Judge William G. Young. (Gaudet,
                            Jennifer) (Entered: 04/07/2021)



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